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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

IN RE THE REASSIGNMENT                         )
OF CRIMINAL CASES FROM                         )
JUDGE SHANAHAN                                 )      GENERAL ORDER NO. 2005-08
TO JUDGES BATAILLON,                           )
KOPF AND SMITH CAMP                            )

      Judge Shanahan’s pending criminal cases and closed criminal cases with matters
pending have been reassigned to Judges Bataillon, Kopf and Smith Camp.

       IT IS ORDERED that:

       (1)   The following cases are reassigned from Judge Shanahan to Judge
Bataillon:

8:96-cr-00008-TMS-FG3            USA v. Moyer, et al
8:96-cr-00066-TMS-FG3            USA v. Martinez-Acosta, et al
8:99-cr-00100-TMS-FG3            USA v. Sanchez
8:99-cr-00174-TMS-TDT            USA v. Moreno-Munoz
8:00-cr-00068-TMS-FG3            USA v. Colin, et al
8:00-cr-00174-TMS-TDT            USA v. Marquez
8:03-cr-00036-TMS-TDT            USA v. Rodriguez et al (PAPER FILE AS OF 4/14/04)
8:04-cr-00140-TMS-FG3            USA v. Bloomquist et al
8:04-cr-00500-TMS-FG3            USA v. Bauman et al
8:04-cr-00502-TMS-TDT            USA v. Gardner
8:04-cr-00504-TMS-TDT            USA v. Heck
8:04-cr-00514-TMS                USA v. Fitzgerald
8:04-cr-00536-TMS-FG3            USA v. Estle
8:04-cr-00542-TMS-TDT            USA v. Minton-Johnson
8:04-cr-00546-TMS-FG3            USA v. Stewart
8:05-cr-00006-TMS-TDT            USA v. Avalos-Andrade related to 8:05-cr-00007
8:05-cr-00007-TMS-TDT            USA v. Coronado-Pimental related to 8:05-cr-00006
8:05-cr-00030-TMS-FG3            USA v. Allen
8:05-cr-00034-TMS-FG3            USA v. Loera
8:05-cr-00036-TMS-FG3            USA v. Lovejoy
8:05-cr-00040-TMS-TDT            USA v. Venable
8:05-cr-00044-TMS-TDT            USA v. Ambriz-Saldana related to 8:05-cr-00006, 8:05-cr-
                                 00007
8:05-cr-00052-TMS-FG3            USA v. Garcia-Lemus
8:05-cr-00062-TMS-FG3            USA v. Pappas
8:05-cr-00066-TMS-TDT            USA v. Sayers
8:05-cr-00068-TMS-TDT            USA v. Washington
8:05-cr-00084-TMS-FG3            USA v. Peterson
8:05-cr-00092-TMS-FG3            USA v. Ortega-Morgan et al

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8:05-cr-00104-TMS-TDT             USA v. Moore
8:05-cr-00106-TMS-TDT             USA v. Robledo-Soto et al
8:05-cr-00122-TMS-TDT             USA v. Felix-Siqueiros
8:05-cr-00126-TMS-FG3             USA v. Larsen et al
8:05-cr-00132-TMS-FG3             USA v. Russell
8:05-cr-00138-TMS-TDT             USA v. Ambriz-Saldana et al related to 8:05-cr-00122
8:02-cr-00112-TMS                 USA v. Montes related to 8:05-cv-00074-TMS
4:02-cr-00116-TMS-FG3             USA v. Dabney related to 8:05-cv-00156-TMS
8:02-cr-00160-TMS                 USA v. Munoz-Barajas related to 8:05-cv-00101-TMS
8:02-cr-00392-TMS-TDT-1           USA v. Wolfe, et al related to 8:05-cv-00176-TMS
8:03-cr-00072-TMS-FG3             USA v. Kellum related to 8:05-cv-00059-TMS
4:02-cr-03067-TMS-FG3             USA v. DeAnda
8:03-cr-00036-TMS-TDT             USA v. Rodriguez et al
8:03-cr-00085-TMS-TDT             USA v. Edmonson related to 8:03-cr-00091
8:03-cr-00091-TMS-TDT             USA v. Davis related to 8:03-cr-00085
8:98-cr-00212-TMS                 USA v. Todd
8:02-cr-00308-TMS-TDT             USA v. Fox, et al
8:03-cr-00155-TMS-FG3             USA v. Nutile

        (2)   The following cases are reassigned from Judge Shanahan to Judge Smith
Camp:

8:95-cr-00165-TMS-FG3             USA v. Haro-Perez, et al
8:96-cr-00017-TMS-FG3             USA v. Ryan, et al
8:97-cr-00133-TMS-FG3             USA v. Smith
8:98-cr-00239-TMS-FG3             USA v. Cierra, et al
8:99-cr-00031-TMS-FG3             USA v. Beltran-Felix, et al
8:99-cr-00123-TMS-TDT             USA v. McPherson
8:99-cr-00167-TMS-FG3             USA v. Fuentes, et al
8:00-cr-00013-TMS-TDT             USA v. Arceo
8:02-cr-00205-TMS                 USA v. Moreno et al (PAPER FILE)
8:03-cr-00483-TMS-TDT             USA v. Alejandro related to 8:03-cr-00482
8:03-cr-00541-TMS-TDT             USA v. Arratia
8:03-cr-00585-TMS-FG3             USA v. Reams
8:04-cr-00134-TMS-TDT             USA v. Ramos
8:04-cr-00267-TMS-FG3             USA v. Grant related to 8:03-cr-00403
8:04-cr-00487-TMS-FG3             USA v. Jurado-Castro
8:04-cr-00501-TMS-FG3             USA v. Ferrara
8:04-cr-00510-TMS-TDT             USA v. Osborne
8:04-cr-00513-TMS-FG3             USA v. Shelly
8:04-cr-00517-TMS-TDT             USA v. Cervantes-Pina
8:04-cr-00529-TMS-TDT             USA v. West
8:04-cr-00539-TMS-FG3             USA v. Koehler
8:05-cr-00003-TMS-TDT             USA v. Paxton
8:05-cr-00015-TMS-FG3             USA v. Mata
8:05-cr-00025-TMS-TDT             USA v. Bryant
8:05-cr-00033-TMS-TDT             USA v. Johnson

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8:05-cr-00065-TMS-TDT              USA v. Reed
8:05-cr-00095-TMS-TDT              USA v. Brown
8:05-cr-00101-TMS-TDT              USA v. Jewell
8:05-cr-00103-TMS-FG3              USA v. Martinez-Rosas
8:05-cr-00107-TMS-FG3              USA v. Romero-Bernal
8:05-cr-00113-TMS-TDT              USA v. Washington
8:05-cr-00116-TMS-TDT              USA v. Cotton et al
8:05-cr-00135-TMS-FG3              USA v. Decora related to 8:02-cr-00162
8:03-cr-00243-TMS-FG3              USA v. Saul, et al related to 8:04-cv-00619-TMS
8:03-cr-00267-TMS-FG3              USA v. McClenton, et al related to 8:04-cv-00610-TMS
8:03-cr-00459-TMS-TDT              USA v. Duncan related to 8:05-cv-00108-TMS
8:03-cr-00068-TMS-TDT              USA v. Martin
8:04-cr-00089-TMS-TDT              USA v. Toelle
8:02-cr-00163-TMS                  USA v. Snow
8:03-cr-00297-TMS-FG3              USA v. Solario-Quezada et al
8:03-cr-00403-TMS-FG3              USA v. Jones related to 8:04-cr-00267
8:03-cr-00482-TMS-TDT              USA v. Rigsby et al
8:02-cr-00162-TMS                  USA v. Decora related to 8:05-cr-00135
8:97-cr-00062-TMS                  USA v. Rodriguez et al
8:03-cr-00029-TMS-TDT              USA v. Flesner

       (3)   The following cases are reassigned from Judge Shanahan to Judge Kopf:

8:02-cr-00259-TMS-TDT              USA v. Reynoso
8:02-cr-00214-TMS                  USA v. Polak
8:03-cr-00137-TMS-FG3              USA v. Larson et al related to 8:03-cr-00375
8:03-cr-00370-TMS-TDT              USA v. Flores
8:03-cr-00375-TMS-FG3              USA v. Beveridge related to 8:03-cr-00137
8:00-cr-00063-TMS-FG3              USA v. Marion

       (4)    This order does not alter assignments to magistrate judges. That is, cases
will continue to be assigned to the magistrate judge to whom they were originally
assigned.

       Dated this 2nd day of May, 2005.

                                          BY THE COURT:


                                          s/ Joseph F. Bataillon
                                          Joseph F. Bataillon
                                          Chief Judge




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